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    Case #2016CI20344
    Name: CHRISTOPHER SCOTT SMITH

    Date Filed : 11/23/2016

    Case Status : PENDING

    Litigant Type : PLAINTIFF

    Court : 224

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    Business Name : 

    Style : CHRISTOPHER S SMITH ET AL

    Style (2) : v s CERTAIN UNDERW RITERS AT LLOYDS LONDON




    Case History
http://apps.bexar.org/Search/Details?r=cd02789a-7b6a-4d34-9978-d2ebd6eff398&st=l&l=&fn=&m=&cs=2016CI20344&ct=&p=2_2016CI20344++++DC0000100…   1/2
1/5/2017                                        Detail Information
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      Sequence                Date Filed              Description

    S00001                   12/2/2016               CITATION
                                                     CERTAIN UNDERW RITERS AT LLOYDS LONDON
                                                     ISSUED: 12/2/2016

    P00003                   12/1/2016               LETTER
                                                     PAYING FOR COPIES

    P00002                   11/23/2016              SERVICE ASSIGNED TO CLERK 3
    P00001                   11/23/2016              PETITION




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